        Case 2:21-cv-00374-RDP Document 1 Filed 03/10/21 Page 1 of 16                       FILED
                                                                                   2021 Mar-10 PM 03:37
                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA


               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ALABAMA
                        SOUTHERN DIVISION

MARY ANN PARKER,                           )
individually,                              )
                                           )
      Plaintiff,                           )
                                           )
v.                                         )   Civil Action No. ________________
                                           )
UH33-OU23 LTD,                             )
a foreign limited partnership,             )
                                           )
     Defendant.                            )
______________________________

                                   COMPLAINT

       Plaintiff MARY ANN PARKER (hereinafter “PARKER” or “Plaintiff”)

hereby sues Defendant, UH33-OU23 LTD, a Foreign Limited Partnership,

(hereinafter “Defendant”) for injunctive relief, attorney’s fees, litigation expenses,

and costs pursuant to the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq.

(hereinafter “ADA”), and the ADA Accessibility Guidelines, 28 C.F.R. Part 36

(hereinafter “ADAAG”). In support thereof, Plaintiff respectfully shows this Court

as follows:

                          JURISDICTION AND VENUE

      1.      This is an action for declaratory and injunctive relief pursuant to Title

III of the ADA. This Court is vested with original jurisdiction over the action

pursuant to 28 U.S.C. §§ 1331 and 1343 for Plaintiff’s claims pursuant to 42 U.S.C.
         Case 2:21-cv-00374-RDP Document 1 Filed 03/10/21 Page 2 of 16




§ 12181 et seq., based upon Defendant, UH33-OU23 LTD’s, failure to remove

physical barriers to access and violations of Title III of the ADA.

       2.       Venue is properly located in the Northern District of Alabama pursuant

to 28 U.S.C. § 1391(b) because venue lies in the judicial district of the property situs

or the judicial district in which a substantial part of the events or omissions giving

rise to Plaintiff’s claims occurred. The Defendant’s property is located in and does

business within this judicial district and all events giving rise to this lawsuit occurred

in this judicial district.

                                       PARTIES

       3.       Plaintiff, MARY ANN PARKER is an Alabama resident individual.

Plaintiff is sui juris and qualifies as an individual with disabilities as defined by the

ADA.        Plaintiff utilizes a wheelchair or wheeled walker for mobility. Plaintiff’s

condition is one that constitutes a physical impairment which impacts and

substantially limits the major life activity of walking and having complete use of her

lower extremities and as such is a qualified disability under the ADA.

       4.       Plaintiff is also an independent advocate of the rights of similarly

situated disabled persons and is a “tester” for the purpose of enforcing Plaintiff’s

civil rights, monitoring, determining and ensuring whether places of public

accommodation are in compliance with the ADA. Plaintiff’s motivation to return to

a location, in part, stems from a desire to utilize ADA litigation to make areas that
        Case 2:21-cv-00374-RDP Document 1 Filed 03/10/21 Page 3 of 16




she frequents more accessible for Plaintiff and others; and pledges to do whatever is

necessary to create the requisite standing to confer jurisdiction upon this Court so an

injunction can be issued correcting the numerous ADA violations on the Subject

Property, including returning as soon as it is accessible (“Advocacy Purposes”).

       5.     Defendant, UH33-OU23 LTD, is a foreign limited partnership

registered to do business and, in fact, is conducting business in the State of Alabama

and within this judicial district.

                            FACTUAL ALLEGATIONS

       6.     In Febuary of 2021, Plaintiff attempted to but was deterred from

patronizing and/or gaining equal access as a disabled patron, to the TitleMax title

loan company located at 7155 Aaron Aronov Dr., Fairfield, Alabama 35064

(“Subject Facility”, “Subject Property”).

       7.     UH33-OU23 LTD is the owner, lessor, and/or operator/lessee of the

real property and improvements that are the subject of this action, specifically the

TitleMax title loan company and its attendant facilities, including vehicular parking

and exterior paths of travel within the site identified by the Jefferson County Tax

Assessor’s parcel identification number 30 00 13 3 002 013.501. (“Subject Facility”,

“Subject Property”).

       8.     Plaintiff resides in rural Clay County, Alabama and frequently travels

to and spends time in the Birmingham area for day and overnight visits with her
        Case 2:21-cv-00374-RDP Document 1 Filed 03/10/21 Page 4 of 16




family residing in Birmingham and, also to see her treating physicians in

Birmingham. During said visits Plaintiff frequents restaurants, stores, shops, banks

and lending institutions, ATMs, and other businesses of public accommodation in

the Birmingham and surrounding areas, including the area of the Subject Property.

Plaintiff’s physician’s offices and family members’ residences are located within 25

miles of the Subject Property.

      9.     Plaintiff’s access to the Subject Property and/or full and equal

enjoyment of the goods, services, facilities, privileges, advantages and/or

accommodations offered therein were denied and/or limited because of her

disabilities, and she will be denied and/or limited in the future unless and until

Defendant, UH33-OU23 LTD, is compelled to remove the physical barriers to

access and correct the ADA violations that exist at the Subject Property, including

those set forth in this Complaint.

      10.    Plaintiff has visited and/or attempted to patronize the Subject Property

on multiple prior occasions and at least once before as a patron and advocate for the

disabled. Plaintiff intends on revisiting the Subject Property within six months of the

filing of this Complaint or sooner, as soon as the barriers to access and ADA

violations detailed in this Complaint are removed. The purpose of the revisit is to be

a regular patron, to determine if and when the Subject Property is made accessible,

and to maintain standing for this lawsuit for Advocacy Purposes.
        Case 2:21-cv-00374-RDP Document 1 Filed 03/10/21 Page 5 of 16




      11.    Plaintiff intends on revisiting the Subject Property as a regular patron

to enjoy the same experiences, goods, and services available to Defendant’s non-

disabled patrons, as well as for Advocacy Purposes, but does not intend to continue

to repeatedly re-expose herself to the ongoing barriers to equal access and engage in

the futile gesture of attempting to patronize the Subject Property, a business of public

accommodation known to Plaintiff to have numerous and continuing ADA

violations and barriers to equal access for wheelchair users.

      12.    Plaintiff recently traveled to the Subject Property as a patron and as an

independent advocate for the disabled, encountered and/or observed the barriers to

access that are detailed in this Complaint, engaged those barriers where physically

possible, suffered legal harm and legal injury, and will continue to suffer such harm

and injury as a result of the illegal barriers to equal access and ADA violations

present at the Subject Property.

                                      COUNT I

      13.    The effective date of Title III of the ADA was January 26, 1992 (or

January 26, 1993 if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181; 28 C.F.R. § 36.508(a).

      14.    The Subject Property is a public accommodation and service

establishment.
       Case 2:21-cv-00374-RDP Document 1 Filed 03/10/21 Page 6 of 16




     15.    Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991, the

Department of Justice and Office of Attorney General promulgated federal

regulations to implement the requirements of the ADA. 28 C.F.R. Part 36.

     16.    Public accommodations were required to conform to these regulations

by January 26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer

employees and gross receipts of $500,000 or less). 42 U.S.C. § 12181 et seq.; 28

C.F.R. § 36.508(a).

     17.    The Subject Property must be, but is not, in compliance with the ADA

and the ADAAG.

     18.    Plaintiff has attempted to, and has to the extent possible, accessed the

Subject Property in her capacity as an intended patron and as an independent

advocate for the disabled, but could not fully do so because of her disabilities

resulting from the physical barriers to access, dangerous conditions and ADA

violations that exist at the Subject Property that preclude and/or limit her access to

the goods, services, facilities, privileges, advantages and/or accommodations

offered therein, including those barriers, conditions and ADA violations more

specifically set forth in this Complaint.

     19.    Plaintiff intends to visit the Subject Property again in the very near

future as a patron and as an independent advocate for the disabled, in order to utilize

all of the goods, services, facilities, privileges, advantages and/or accommodations
        Case 2:21-cv-00374-RDP Document 1 Filed 03/10/21 Page 7 of 16




commonly offered at the Subject Property but will be unable to fully do so because

of her disability and the physical barriers to access, dangerous conditions and ADA

violations that exist at the Subject Property that preclude and/or limit her access to

the Subject Property and/or the goods, services, facilities, privileges, advantages

and/or accommodations offered therein, including those barriers, conditions and

ADA violations more specifically set forth in this Complaint.

      20.    Defendant, UH33-OU23 LTD, has discriminated against Plaintiff (and

others with disabilities) by denying her access to, and full and equal enjoyment of

the goods, services, facilities, privileges, advantages and/or accommodations of the

Subject Property, as prohibited by, and by failing to remove architectural barriers

as required by, 42 U.S.C. § 12182(b)(2)(A)(iv).

      21.    Defendant, UH33-OU23 LTD, will continue to discriminate against

Plaintiff and others with disabilities unless and until Defendant, UH33-OU23 LTD,

is compelled to remove all physical barriers to equal access and ADA violations

that exist at the Subject Property, including those specifically set forth herein, and

make the Subject Property accessible to and usable by Plaintiff and other persons

with disabilities.

      22.    A specific list of unlawful physical barriers, dangerous conditions and

ADA violations which Plaintiff experienced and/or observed that precluded and/or

limited Plaintiff’s access to the Subject Property and the full and equal enjoyment
       Case 2:21-cv-00374-RDP Document 1 Filed 03/10/21 Page 8 of 16




of the goods, services, facilities, privileges, advantages and accommodations of the

Subject Property include, but are not limited to:

                            ACCESSIBLE PARKING

            a. There is no visible upright signage (displaying the
               International Symbol of Accessibility) designating any
               parking spaces as accessible in violation of Section 4.6
               of the 1991 ADAAG and Section 502 of the 2010
               ADAAG. This violation made it dangerous for Plaintiff
               to utilize the parking facility at the Subject Property
               and caused Plaintiff undue upset and loss of
               opportunity.

            b. The paint delineating the access aisle to the accessible
               parking space is not maintained so that it clearly marks
               the accessible parking location because of Defendant’s
               practice of failing to maintain the parking surface in
               violation of 28 CFR § 36.211, Section 4.6 of the 1991
               ADAAG, and Section 502.3.3 of the 2010 ADAAG.
               This violation made it dangerous for Plaintiff to utilize
               the parking facility at the Subject Property and caused
               Plaintiff undue upset and loss of opportunity.

            c. The accessible parking space is not level in all
               directions and has areas of uneven and/or broken
               pavement because of Defendant’s practice of failing to
               maintain the parking surface in violation of 28 CFR §
               36.211, Sections 4.5.1 and 4.6.3 of the 1991 ADAAG
               and Sections 302 and 502.4 of the 2010 ADAAG. This
               violation made it dangerous for Plaintiff to utilize the
               parking facility at the Subject Property and caused
               Plaintiff undue upset and loss of opportunity.

            d. The access aisle serving the designated accessible
               parking space is not level in all directions and has areas
Case 2:21-cv-00374-RDP Document 1 Filed 03/10/21 Page 9 of 16




       of uneven and/or broken pavement because of
       Defendant’s practice of failing to inspect and maintain
       the parking surface in violation of 28 CFR § 36.211,
       Section 4.6.3 of the 1991 ADAAG and Sections 302
       and 502.4 of the 2010 ADAAG. This violation made it
       dangerous for Plaintiff to utilize the parking facility at
       the Subject Property and caused Plaintiff undue upset
       and loss of opportunity.

    e. The accessible parking space is not located on the
       shortest accessible route to the accessible entrance in
       violation of Sections 4.5.1 and 4.6.3 of the 1991
       ADAAG and Sections 302 and 502.4 of the 2010
       ADAAG. This violation made it dangerous for Plaintiff
       to utilize the parking facility at the Subject Property
       and caused Plaintiff undue upset and loss of
       opportunity.

                ACCESSIBLE ROUTES/RAMPS

    f. The path of travel from the designated accessible
       parking spaces to the ramp at the side entrance (the
       only means of access for wheelchair users) has broken
       pavement, horizontal gaps/openings exceeding ½
       inches and unpermitted cross slopes, horizontal and/or
       vertical changes in level in violation of 28 CFR §
       36.211 because of Defendant’s practice of failing to
       maintain its accessible routes in violation, Section 4.5.2
       of the 1991 ADAAG and Sections 302, 303 and 403.4
       of the 2010 ADAAG. This violation prevented safe
       access to the plaintiff and caused Plaintiff undue upset
       and loss of opportunity.

    g. The ramp to the side entrance (the only means of access
       to wheelchair users) has a run which exceeds the
       maximum slope requirement (8.33%) set forth in
       Section 4.7.2 of the 1991 ADAAG and Section 406.1
Case 2:21-cv-00374-RDP Document 1 Filed 03/10/21 Page 10 of 16




       of the 2010 ADAAG. This violation prevented safe
       access to the plaintiff and caused Plaintiff undue upset
       and loss of opportunity.

                   ACCESSIBLE ENTRANCE

    h. The accessible entrance door closer closes too quickly.
       Violation: The sweep speed settings of the door closer
       for the accessible entrance door has not been
       maintained properly by Defendant which has caused
       the door closing speed to increase with time and use so
       that the time allowed to transition the door, from an
       open position of 90 degrees to a position of 12 degrees
       from the latch, is too brief to allow individuals with
       mobility impairments to enter and/or exit safely,
       independently and/or without difficulty, in violation of
       Section 4.13.10 of the 1991 ADAAG and Section
       404.2.8 of the 2010 ADAAG. This accessible feature is
       not being maintained by Defendant in violation of 28
       CFR § 36.211. These violations prevented equal access
       to the plaintiff and caused Plaintiff undue upset and
       loss of opportunity.

                 MAINTENANCE PRACTICES

    i. Defendant has a practice of failing to maintain the
       accessible features of the facility, creating barriers to
       access for the Plaintiff, as set forth herein, in violation
       of 28 CFR § 36.211. This practice prevented access to
       the plaintiff equal to that of Defendant’s able-bodied
       customers causing Plaintiff loss of opportunity and
       undue upset.

    j. Defendant has a practice of failing to maintain the
       accessible elements at the Subject Facility by
       neglecting its continuing duty to review, inspect, and
       discover transient accessible elements which by the
       Case 2:21-cv-00374-RDP Document 1 Filed 03/10/21 Page 11 of 16




               nature of their design or placement, frequency of usage,
               exposure to weather and/or other factors, are prone to
               shift from compliant to noncompliant so that said
               elements may be discovered and remediated.
               Defendant failed and continues to fail to alter its
               inadequate maintenance practices to prevent future
               recurrence of noncompliance with dynamic accessible
               elements at the Subject Facility in violation of 28 CFR
               § 36.211, the 1991 ADAAG, and the 2010 ADAAG.
               These violations, as set forth hereinabove, made it
               impossible for Plaintiff to experience the same access
               to the goods, services, facilities, privileges, advantages
               and accommodations of the Subject Facility as
               Defendant’s able-bodied patrons and caused Plaintiff
               loss of opportunity and undue upset.

            k. Defendant has failed to modify its discriminatory
               maintenance practices to ensure that, pursuant to its
               continuing duty under the ADA, the Subject Property
               remains readily accessible to and usable by disabled
               individuals, including Plaintiff, as set forth herein, in
               violation of 28 CFR § 36.302 and 36.211. This failure
               by Defendant prevented access to the plaintiff equal to
               that of Defendant’s able-bodied customers causing
               Plaintiff loss of opportunity and undue upset.


      23.   The discriminatory violations described above are not an exhaustive list

of the Defendant’s current barriers to equal access and violations of the ADA

because Plaintiff was unable to access and assess all areas of the subject premises

due to the architectural barriers encountered. A complete list of the Subject

Property’s ADA violations affecting the Plaintiff as a wheelchair user, and the

remedial measures necessary to remove same, will require an on-site inspection by
        Case 2:21-cv-00374-RDP Document 1 Filed 03/10/21 Page 12 of 16




Plaintiff’s representatives pursuant to Federal Rule of Civil Procedure 34. Once the

Plaintiff personally encounters discrimination, as alleged above, or learns of

discriminatory violations through expert findings of personal observation, she has

actual notice that the defendant does not intend to comply with the ADA.

      24.     Upon information and belief accessible elements at the Subject

Property have been altered and/or constructed since 2010.

      25.    The foregoing violations are violations of the 1991 ADAAG, and the

2010 ADAAG, as adopted by the U.S. Department of Justice. In instances where the

2010 ADAAG standards do not apply, the 1991 ADAAG standards apply, and all of

the alleged violations set forth herein can be modified to comply with the 1991

ADAAG standards.

      26.    The removal of the physical barriers, dangerous conditions and ADA

violations alleged herein is readily achievable and can be accomplished and carried

out without significant difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42

U.S.C. § 12181(9); 28 C.F.R. § 36.304.

      27.    Each of the violations alleged herein is readily achievable to modify to

bring the Subject Property into compliance with the ADA.

      28.    Removal of the physical barriers and dangerous conditions present at

the Subject Property is readily achievable because of the site conditions at the subject
       Case 2:21-cv-00374-RDP Document 1 Filed 03/10/21 Page 13 of 16




property, the structural design of the Subject Property, and the straightforward nature

of the necessary modifications.

      29.    To assist businesses in offsetting the costs associated with complying

with the ADA and removing barriers to access for individuals with disabilities,

Section 44 of the IRS Code provides a tax credit for small businesses and Section

190 of the IRS Code provides a tax deduction for all businesses, including the

Defendant.

      30.    Removal of the physical barriers and dangerous conditions at the

Subject Property is readily achievable because of the relative low cost of the

necessary modifications and the Defendant has the financial resources to make the

modifications, including the financial assistance made available to Defendant by the

government pursuant to Section 44 and/or Section 190 of the IRS Code.

      31.    By continuing to operate the subject premises with discriminatory

conditions in violation of the ADA, Defendant contributes to Plaintiff’s sense of

isolation and segregation and deprives Plaintiff of the full and equal enjoyment of

the goods, services, facilities, privileges, and accommodations available to able

bodied individuals of the general public.

      32.    Defendant is required to remove the existing architectural barriers to

the physically disabled when such removal is readily achievable for its places of

public accommodation that have existed prior to January 26, 1992, 28 CFR
       Case 2:21-cv-00374-RDP Document 1 Filed 03/10/21 Page 14 of 16




36.304(a); additionally, if there has been an alteration to Defendant’s place of public

accommodation since January 26, 1992, then Defendant is required to ensure to the

maximum extent feasible, that the altered portions of the facility are readily

accessible to and usable by individuals with disabilities, including people who use

wheelchairs, 28 CFR 36.402; and finally, if the Defendant’s facilities were designed

and constructed for first occupancy subsequent to January 26, 1993, as defined in 28

CFR 36.401, then the Defendant’s facilities must be readily accessible to and useable

by individuals with disabilities as defined by the ADA. To date, Defendant has failed

to comply with this mandate.

      33.    Plaintiff is without adequate remedy at law and is suffering irreparable

harm and reasonably anticipates that she will continue to suffer irreparable harm

unless and until Defendant, is required to remove the physical barriers, dangerous

conditions and ADA violations that exist at the Subject Property, including those

alleged herein. Considering the balance of hardships between the Plaintiff and

Defendant, a remedy in equity is warranted.

      34.    Plaintiff’s requested relief serves the public interest.

      35.    Plaintiff’s counsel is entitled to recover its reasonable attorneys’ fees

and costs of litigation from Defendant, pursuant to 42 U.S.C. §§ 12188, 12205 and

28 CFR 36.505. Plaintiff will be denied full and equal access to the subject premises,

as provided by the ADA unless the injunctive relief requested herein is granted.
        Case 2:21-cv-00374-RDP Document 1 Filed 03/10/21 Page 15 of 16




      36.    Pursuant to 42 U.S.C. § 12188, this Court is vested with the authority

to grant Plaintiff injunctive relief; including an Order to alter the subject facilities to

make them readily accessible to, and useable by, individuals with disabilities to the

extent required by the ADA, and closing the subject facilities until the requisite

modifications are completed, and ordering Defendant to fulfill its continuing duty to

maintain the accessible features at the premises in the future as mandated by 28 CFR

§ 36.211.

       WHEREFORE, the Plaintiff prays as follows:
       A.     That the Court find Defendant in violation of the ADA and
              ADAAG;
       B.     That the Court enter an Order requiring Defendant to (i)
              remove the physical barriers to access and (ii) alter the
              Subject Property to make the subject property readily
              accessible to and useable by individuals with disabilities
              to the full extent required by Title III of the ADA;
       C.     That the Court enter an Order directing Defendant,
              pursuant to 28 C.F.R. § 36.211, to fulfill its continuing
              duty to maintain and repair its accessible features and
              equipment in the future so that the facility remains
              accessible to and useable by individuals with disabilities
              in the future, to the full extent required by Title III of the
              ADA;
       D.     That the Court enter an Order directing Defendant to
              implement and carry out effective policies, practices, and
              procedures to maintain and repair its accessible features
              and equipment in the future pursuant to 28 C.F.R. § 36.302
              and 28 C.F.R. § 36.211.
       E.     That the Court enter an Order directing Defendant to
              evaluate and neutralize its policies, practices and
      Case 2:21-cv-00374-RDP Document 1 Filed 03/10/21 Page 16 of 16




           procedures towards persons with disabilities for such
           reasonable time so as to allow them to undertake and
           complete corrective procedures;
     F.    An award of attorneys’ fees, costs (including expert fees),
           and litigation expenses pursuant to 42 U.S.C. § 12205;
     G.    An award of interest upon the original sums of said award
           of attorney’s fees, costs (including expert fees), and other
           expenses of suit; and
     H.    Such other relief as the Court deems just and proper,
           and/or is allowable under Title III of the Americans with
           Disabilities Act.

     Dated this the 10th day of March, 2021.

                                            Respectfully submitted,


                                     By: /s/ John Allen Fulmer II
                                         John Allen Fulmer II(ASB-1089-42F)
                                         Counsel for Plaintiff


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